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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

GPDEV, LLC and
SIMONS EXPLORATION, INC.,

       Plaintiffs,

v.                                                    CASE NO. 4:18cv442-RH-MAF

TEAM SYSTEMS
INTERNATIONAL, LLC,

     Defendant.
___________________________/

                                    JUDGMENT

       This case was tried to a jury and the court. The jury returned a verdict on the

issues tried to the jury, and the court issued an order on the issues tried to the court.

IT IS ADJUDGED that:

       1. The plaintiff GPDEV, LLC recover from the defendant Team Systems

          International, LLC the amount of $2,770,855.00 as principal, plus

          $527,140.32 as prejudgment interest to August 25, 2021, for a total of

          Three Million Two Hundred Ninety-Seven Thousand Nine Hundred

          Ninety-Five and 32/100 Dollars ($3,297,995.32), together with post-

          judgment interest after August 25, 2021 as provided by law.


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         2. The plaintiff Simons Exploration, Inc. recover from the defendant Team

             Systems International, LLC the amount of $2,483,722.00 as principal,

             plus $464,358.46 as prejudgment interest to August 25, 2021, for a total

             of Two Million Nine Hundred Forty-Eight Thousand Eighty and 46/100

             Dollars ($2,948,080.46), together with post-judgment interest after

             August 25, 2021 as provided by law.

         3. It is declared that the parties’ consulting agreement was modified to

             apply to water provided through Nestle Waters and others, as well as

             Niagara Bottling, LLC, in response to the modified delivery order issued

             by the Federal Emergency Management Agency in the aftermath of

             Hurricane Maria. It is declared that the consulting agreement was not

             otherwise modified.

         4. All other claims in this action are dismissed.

         This judgment is entered on September 28, 2021, nunc pro tunc August 25,

2021.

                                          JESSICA J. LYUBLANOVITS
                                          CLERK OF COURT


                                          s/ Cindy Markley
                                          Deputy Clerk: Cindy Markley

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